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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                     CASE NO. 8:16-cr-274-T-26TGW

JOSEPH WARD
                                          /


                                        ORDER

       Pending before the Court is Defendant’s Motion to Suppress and for a Franks

Hearing in which he seeks the suppression of evidence (presumably the firearm and

ammunition which forms the basis of the one-count indictment charging him with being a

felon in possession of a firearm and ammunition) seized from his residence during the

course of the execution of a court authorized search warrant. The Government has filed a

memorandum opposing the motion. For the reasons that follow, the motion is due to be

denied.

       Defendant argues that the affidavit supporting the issuance of the search warrant

contained “false statements and omitted material facts[,]” thus entitling him to an

evidentiary hearing pursuant to Franks v. Delaware, 438 U.S. 154, 98 S.Ct. 2674, 57

L.Ed.2d 687 (1978). Under Franks, however, such a hearing is required only after a

defendant has alleged specific instances of deliberate falsehoods or of reckless disregard

for the truth, “and those allegations must be accompanied by an offer of proof.” 438 U.S.
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at 171-72, 98 S.Ct. at 2684. As explained by the Court in Franks, “[a]ffidavits or sworn

or otherwise reliable statements of witnesses should be furnished, or their absences

otherwise explained.” Id.

       In this case, although Defendant’s counsel makes specific allegations of

misconduct on the part of the affiant in terms of intentionally misleading the judge who

issued the search warrant, he utterly fails to furnish an “offer of proof” as required by

Franks in the form of affidavits or otherwise reliable witness statements. Furthermore,

the assertions of Defendant’s counsel, without more, cannot be considered by the Court in

making up for this deficiency. Cf. United States v. Potes-Ramirez, 260 F.3d 1310, 1314

(11th Cir. 2001) (holding that Government did not meet its burden of demonstrating that

property had been destroyed by simply making that allegation in an unverified pleading

with no supporting affidavits). Consequently, because “[t]here is no affidavit or

otherwise sworn statement alleging that the [affiant] knowingly or recklessly included

false statements in the search warrant affidavit . . . [Defendant] has failed to make the

necessary ‘substantial preliminary showing’ [for a Franks hearing].” United States v.

Arbolaez, 450 F.3d 1283, 1294 (11th Cir. 2006). He is, therefore, not entitled to an

evidentiary hearing under Franks.

       Moreover, as the Government persuasively points out, even if the alleged false

statements are omitted and the alleged material omissions are added, the affidavit would

still afford the issuing judge circumstances compelling the conclusion that there was a fair

probability that contraband would be found at the residence in question. See United

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States v. Karpodelis, 569 F.3d 1291, 1310 (11th Cir. 2009) (citing and quoting Gates v.

Illinois, 462 U.S. 213, 238, 103 S.Ct. 2317, 2332, 76 L.Ed.2d 527 (1983)). Accordingly,

it is ORDERED AND ADJUDGED that Defendant’s Motion to Suppress and for a

Franks Hearing (Dkt. 23) is denied. The hearing scheduled for Thursday, March 30,

2017, at 10:30 a.m., is converted to a status conference.

       DONE AND ORDERED at Tampa, Florida, on March 28, 2017.



                                     s/Richard A. Lazzara
                                   RICHARD A. LAZZARA
                                   UNITED STATES DISTRICT JUDGE


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Counsel of Record




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